Case 1:18-cv-01110-TSE-JFA Document 76 Filed 08/30/18 Page 1 of 1 PageID# 1150



                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

VOLKSWAGEN AG, et al.,                          )
  Plaintiffs,                                   )
                                                )
                v.                              )         Case No. 1:18cv1110
                                                )
FYDIMN_6,                                       )
     Defendant.                                 )
                                                )
                                          FINAL JUDGMENT

        Pursuant to the Court’s Order adopting the Magistrate Judge’s Report and

Recommendation and granting plaintiffs’ motion for default judgment,

        It is hereby ORDERED that judgment is entered on behalf of plaintiffs Volkswagen AG

and Audi AG against defendant fydimn_6 in the amount of $2,000,000.00.

        It is further ORDERED that post judgment interest shall accrue at the rate provided by

28 U.S.C. § 1961(a).

        It is further ORDERED that defendant fydimn_6 is permanently enjoined from making,

using, selling or offering for sale any products that infringe the Volkswagen and Audi

trademarks at issue in this litigation.

        It is further ORDERED that third-party PayPal, Inc. shall transfer any monies currently

restrained in the above defendant’s financial accounts to plaintiffs as partial satisfaction of this

judgment.

        The Clerk shall provide a copy of this judgment to all counsel of record, and plaintiffs

shall be responsible for emailing this judgment to the defendant.


Alexandria, Virginia
August 30, 2018
